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  8                        UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                            Case No. 16cr0559-GPC
11                       Plaintiff,                        PRELIMINARY ORDER OF
12          v.                                             CRIMINAL FORFEITURE

13    LOUIGIE ALEXANDRO CASTILLO (3),
14                       Defendant.
15
16         WHEREAS, in the Indictment in the above-captioned case, the United States
17 sought forfeiture of all right, title and interest in property of the above-named
18 Defendant, LOUIGIE ALEXANDRO CASTILLO (3) (“Defendant”), pursuant to
19 Title 21, United States Code, Section 853, as property constituting, or derived from,
20 any proceeds Defendant obtained directly or indirectly, as the result of the violations,
21 as well as any property used or intended to be used to facilitate the commission of the
22 violation of Title 21, United States Code, Sections 841(a)(1) and 846, as charged in
23 the Indictment; and
24         WHEREAS, on or about October 20, 2016, Defendant pled guilty before
25 Magistrate Judge William V. Gallo to Count 1 of the Indictment, which plea included
26 consent to the forfeiture allegation of the Indictment, including “forfeiture of all
27 property seized in connection with this case,” which includes the following:
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  1               1.     One (1) Taurus PT92AFS 9mm semi-automatic pistol with
                         one (1) magazine, Serial Number TLC40990D;
  2
                  2.     One (1) Colt SF-VI .38 caliber revolver with Serial Number
  3                      SV2607; and
  4               3.     Six (6) rounds of ammunition for a .38 special; eleven (11)
                         rounds of 9mm ammunition; and
  5
  6        WHEREAS, on January 3, 2017 this Court accepted the guilty plea of
  7 Defendant; and
  8        WHEREAS, by virtue of the facts set forth in the plea agreement the
  9 United States has established the requisite nexus between the forfeited properties and
10 the offense; and
11         WHEREAS, by virtue of said guilty plea, the United States is now entitled to
12 possession of the above-referenced properties, pursuant to 21 U.S.C. § 853 and Rule
13 32.2(b) of the Federal Rules of Criminal Procedure; and
14         WHEREAS, pursuant to Rule 32.2(b), the United States having requested the
15 authority to take custody of the above-referenced properties which were found
16 forfeitable by the Court; and
17         WHEREAS, the United States, having submitted the Order herein to the
18 Defendant through his attorney of record, to review, and no objections having been
19 received;
20         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
21         1.     Based upon the guilty plea of the Defendant, the United States is hereby
22 authorized to take custody and control of the following assets, and all right, title and
23 interest of Defendant LOUIGIE ALEXANDRO CASTILLO (3) in the following
24 properties are hereby forfeited to the United States for disposition in accordance with
25 the law, subject to the provisions of 21 U.S.C. § 853(n):
26                1.     One (1) Taurus PT92AFS 9mm semi-automatic pistol with
                         one (1) magazine, Serial Number TLC40990D;
27
                  2.     One (1) Colt SF-VI .38 caliber revolver with Serial Number
28                       SV2607; and
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  1               3.     Six (6) rounds of ammunition for a .38 special; eleven (11)
  2                      rounds of 9mm ammunition.
  3        2.     The aforementioned forfeited assets are to be held by the United States
  4 Marshals Service in its secure custody and control.
  5        3.     Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized
  6 to begin proceedings consistent with any statutory requirements pertaining to
  7 ancillary hearings and rights of third parties. The Court shall conduct ancillary
  8 proceedings as the Court deems appropriate only upon the receipt of timely third
  9 party petitions filed with the Court and served upon the United States. The Court
10 may determine any petition without the need for further hearings upon the receipt of
11 the Government’s response to any petition. The Court may enter an amended order
12 without further notice to the parties.
13         4.     Pursuant to the Attorney General’s authority under Section 853(n)(1) of
14 Title 21, United States Code, Rule 32.2(b)(6), Fed. R. Crim. P., and Rule G(4) of the
15 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
16 the United States forthwith shall publish for thirty (30) consecutive days on the
17 Government’s forfeiture website, www.forfeiture.gov, notice of this Order, notice of
18 the United States’ intent to dispose of the properties in such manner as the Attorney
19 General may direct, and notice that any person, other than the Defendant, having or
20 claiming a legal interest in the above-listed forfeited properties must file a petition
21 with the Court within thirty (30) days of the final publication of notice or of receipt of
22 actual notice, whichever is earlier.
23         5.     This notice shall state that the petition shall be for a hearing to
24 adjudicate the validity of the petitioner's alleged interest in the property, shall be
25 signed by the petitioner under penalty of perjury, and shall set forth the nature and
26 extent of the petitioner's right, title or interest in the forfeited property and any
27 additional facts supporting the petitioner's claim and the relief sought.
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  1        6.     The United States shall also, to the extent practicable, provide direct
  2 written notice to any person known to have alleged an interest in the properties that
  3 are the subject of the Preliminary Order of Criminal Forfeiture, as a substitute for
  4 published notice as to those persons so notified.
  5        7.     Upon adjudication of all third-party interests, this Court will enter an
  6 Amended Order of Forfeiture pursuant to 21 U.S.C. § 853(n) as to the
  7 aforementioned assets, in which all interests will be addressed.
  8        8.     Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be made final
  9 as to the Defendant at the time of sentencing and is part of the sentence and included
10 in the judgment.
11         IT IS SO ORDERED.
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      Dated: January 3, 2017
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